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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

                                        DOCKET NO: 17-10281-PBS-2

______________________________
                              )
UNITED STATES OF AMERICA      )
                              )
v.                            )
                              )
MINERVA RUIZ                  )
_____________________________ )

 DEFENDANT’S MOTION IN LIMINE TO ADMIT DALNOVIS DELAROS ARIAS’S
   NOVEMBER 26, 2018, CHANGE OF PLEA AND CONVICTION TRANSCRIPT

                             INTRODUCTION

     The Defendant, Minerva Ruiz (“Ruiz”), moves the Court in

limine to issue an order permitting her to introduce the

transcript of co-defendant Dalnovis Delaros Arias’s (“Arias’s”)

November 26, 2018, change of plea, allocution, and conviction as

evidence at her trial.

                            OFFER OF PROOF

     Ruiz and Arias were similarly charged with one count of

conspiracy to possess with intent to distribute and to

distribute heroin in an amount of one kilogram or more and one

count of possession with the intent to distribute one kilogram

or more of heroin.    It is alleged that in June, 2017,

authorities received a tip from an informant in Puerto Rico that

an individual, later identified as Arias, was looking to sell

multiple kilograms of heroin in Massachusetts.          That informant


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provided no information that a woman generally, or the

Defendant, Ruiz, specifically, was involved with Arias’s

activities or that she had knowledge of them.

        Upon receiving the tip, Boston area federal agents

recruited a cooperating witness who made telephone contact with

Arias.      During the months of July and August, 2017, Arias had

several telephone conversations with the cooperating witness as

well as two in-person meetings whereupon the parties allegedly

discussed selling kilogram quantities of heroin.            Ruiz

participated in none of the phone conversations.

        Regarding the in person meetings, the first occurred on

July 13, 2017.      The government’s cooperating witness met with

Arias in a white Honda SUV that was registered to and driven by

Ruiz.    Ruiz was allegedly present as the cooperating witness and

Arias discussed selling heroin.            The second meeting occurred on

August 24, 2017.      The cooperating witness again met with Arias

in Ruiz’s vehicle which she was driving.           Following this

meeting, authorities converged on the vehicle. Two quantities of

suspected heroin were recovered separately from two cereal boxes

in the vehicle’s backseat area.            The quantities collectively

weighed more than one kilogram. Ruiz and Arias were arrested and

similarly charged with crimes alleged in the indictments.

        On November 26, 2018, Arias appeared in Court for a change

of plea hearing pursuant to Fed. R. Crim. P. 11.            Arias pleaded

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guilty to both counts of the indictment. (Pg. 161).         His

allocution followed.    Before it commenced, Arias acknowledged he

was under oath and could be prosecuted for perjury if he

answered the Court’s questions falsely:

     THE COURT:        Sir, do you understand you’re still
                       under oath, and if you answer any of my
                       questions falsely, your answers can
                       later be used against you in another
                       prosecution for perjury or making a
                       false statement?

     ARIAS:            Yes.

     During his allocution, given under oath with threat of

perjury prosecution should he lie, Arias made several statements

which are exculpatory evidence as it pertains to the Ruiz’s

upcoming trial. For example, Arias stated the following

regarding his choice to plead guilty:

     THE COURT:        Do you feel as if you’re doing this
                       (pleading guilty) of your own free will
                       or because you’re being pressured by an
                       attorney?

     ARIAS:            Truly, I’ve always been in agreement
                       with doing a plea to the possession
                       charge but not to the conspiracy
                       charge, but I see there’s no other
                       option for me, and for me to plead
                       guilty to possession, I also need to
                       plead guilty to conspiracy.   (Pg. 21).




1 Reference is made to the Transcript of the November 26, 2018,
Final Pretrial Conference/Rule 11 Hearing.
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     Arias had the following colloquy with the Court regarding

the availability of the “safety valve” to reduce his sentence

below the ten year minimum mandatory:

      THE COURT:      If convicted, you’d probably be stuck
                      with the 10-year mandatory minimum,
                      unless you did the safety valve. Do you
                      understand?

      ARIAS:          Yes. The problem with the safety valve
                      is that I’m unsure that if he asks
                      questions, where if I lie, that would
                      be used against me, but if I tell the
                      truth, they are going to think that I’m
                      lying because in fact I’m not in
                      agreement with some of the things that
                      the prosecutor described in terms of
                      Ms.—(pg. 26-27).

     The fair inference from the above exchanges is that Ruiz

did not agree with prosecution’s allegations against Ms. Ruiz.

This inference is made abundantly clear when Arias addressed the

prosecutor’s allegations as they pertained to Ruiz’s alleged

involvement:

     THE COURT:       So what is the part (of the
                      prosecutor’s recitation of facts) you
                      disagree with?

     ARIAS:           Ms. Minerva had no knowledge of what I
                      was doing and my activities.

     THE COURT:       And do you agree that there was a
                      conspiracy with someone other than
                      Minerva and the person cooperating with
                      the government?

     ARIAS:           Yes, but not with her.

     THE COURT:       Okay.


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     ARIAS:           She did not know about my activities.
                      (Pg. 37)

     . . .

     THE COURT:       And, as I understand it, the
                      disagreement here is who you were
                      conspiring with, that you were
                      conspiring with someone in Texas and
                      maybe someone else but not with
                      Minerva. Is that right?

     ARIAS.           Yes.

     THE COURT:       Is that right?

     ARIAS:           Yes, but not in Texas.

     THE COURT:       Well, where is the person?

     ARIAS:           In the Dominican Republic. (Pg. 38).

                              ARGUMENT

     The transcript of Arias’s allocution is admissible as a

statement made against his penal interest under Fed. R. Evid.

804(b)(3).    Arias’s statements “were made in open court, under

oath, before the sentencing judge, following extensive pre-trial

proceedings, with the assistance of counsel, and against (his)

penal interest.” United States v. Petrillo, 237 F.3d 119, 123

(2nd Cir. 2000).    Arias is also unavailable under Fed. R. Evid.

804(a)(1) due to his Fifth Amendment privilege with respect to

the indictments as well as uncharged conduct.         Following his

guilty plea, Arias submitted a letter making clear he intended

to appeal his sentence.      Therefore, it is reasonably likely that

there will be further proceedings with respect to Arias’s

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charges in which statements potentially could be used against

him.

       Arias’s allocution transcript is also admissible pursuant

to the “residual exception” to the rule against hearsay, Fed. R.

Evid. 807.    Arias’s statements have circumstantial guarantees of

trustworthiness;     are offered as evidence of a material fact--

Ruiz’s lack of knowledge of or participation in the alleged drug

crimes;    Arias’s statements are more probative on this issue

than any other affirmative evidence the defendant could secure;

and admitting the evidence is in the best interest of justice as

it serves the defendant’s constitutional rights under the Sixth

and Fourteenth Amendments to present exculpatory evidence in her

own defense.     See Chambers v. Mississippi, 410 U.S. 284 (1973).

       Lastly, admission of Arias’s change of plea hearing is

required in accordance with Ruiz’s constitutional right to

present exculpatory witnesses and evidence in her own defense

guaranteed by the Sixth and Fourteenth Amendments to the United

States Constitution.      See Chambers v, Mississippi, 410 U.S. 284

(1973).




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                                 CONCLUSION

      For the forgoing reasons, the Defendant’s Motion in Limine

to Admit Dalnovis Delaros Arias’s November 26, 2018, Change of

Plea Colloquy and Conviction Transcript must be allowed.

                                    By her Attorney,

                                    /s/ Joseph F. Krowski Jr., Esquire
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Dated: July 10, 2019




                            CERTIFICATE OF SERVICE

      I, Joseph F. Krowski, Jr., Esquire, certify that I have this 10th day of
July, 2019, served a copy of this Motion in Limine on the Assistant U.S.
Attorney and all counsel of record by means of the Court’s electronic filing
and notification system (PACER/CM/ECF).

                              /s/ Joseph F. Krowski, Jr., Esquire
                              JOSEPH F. KROWSKI, JR., ESQUIRE




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